Case 1:09-cr-20536-TLL-PTM ECF No. 416, PageID.1308 Filed 08/11/11 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20536-19-BC
v.                                                            Honorable Thomas L. Ludington

ANDREW CARDENAS,

               Defendant.

__________________________________________/


        ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
         DEFENDANT’S PLEA OF GUILTY AS TO COUNT 2 OF THE SECOND
     SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                           UNDER ADVISEMENT

        A plea hearing was conducted on July 20, 2011 by United States Magistrate Judge Charles

E. Binder pursuant to the Defendant’s consent. Judge Binder issued his report on July 21, 2011,

recommending acceptance of Defendant’s guilty plea. Either party may serve and file written

objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

        Accordingly, it is ORDERED that Judge Binder’s report and recommendation [Dkt # 410]

is ADOPTED.
Case 1:09-cr-20536-TLL-PTM ECF No. 416, PageID.1309 Filed 08/11/11 Page 2 of 2




      It is further ORDERED that the defendant’s guilty plea as to count 2 of the second

superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 409] is taken

UNDER ADVISEMENT.

                                                        s/Thomas L. Ludington
                                                        THOMAS L. LUDINGTON
                                                        United States District Judge

Dated: August 11, 2011

                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on August 11, 2011.

                                                           s/Tracy A. Jacobs
                                                           TRACY A. JACOBS




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